Case 2:01-cr-20112-SH|\/| Document 142 Filed 07/14/05 Page 1 of 2 Page|D 161

IN THE: UNITED sTATEs DISTRICT cotm'r w B\, oc_
FoR THE wEsTERN nIsTRIcT oF TENNESSEE '°°"' `

 

WESTERN DI"'ISI°N osJuL ll. names
UNITED STATES OF AMERICA, CLEFK USW§M
W.»® 05 `i` .f‘-:'. -`“-'T§P~JEPH§

Plainuiff,
v. cR. No. 01-20112-Ma

MARCI'IELLO JIMMY LOVERSON,

v`_'\.¢\_¢\_IVV\-J\.J

Def endant .

 

ORDER DIR.ECTING CLERK TO ISS`U'E W'RIT OF H.A.BEAS CORPUS

 

'l‘his matter is set for a re-sentencing hearing on
Tuesda:,{l Aggust 2l 2005 at 9:00 a.m. The defendant, Marchello Jimmy
Loverson, #1'7936-0'76, is confined as a prisoner at United States
Penitentiary, Pollock, Louisiana. It is necessary to have Marchello
Jimmy Loverson appear in this court for the hearing.

IT IS TI-IEREFORE ORDERED that the Clerk of Court issue a writ of
habeas corpus ad testificandum to the United States Marshal for the
Western District of Tennessee, and to the Warden, United States

Penitentiary, Pollock, Louisiana, to have said Marchello Jinu'ny

MM/W`

SAMUEL H. MAYS, JR.
UN'ITED STATES DISTR.ICT J'UDGE

Loverson before this court for the hearing.

 

J“ly _L___. 2005.

Thlo document ohiored on the docket sheet in oompll
with nolo 65 anle 32|!:1 FRCIP on _LL{LB"'

/J.Z

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 142 in
case 2:01-CR-20112 Was distributed by faX, mail, or direct printing on
July 19, 2005 to the parties listed.

 

 

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

